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 6    Attorneys for Plaintiff

 7

 8                                UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10
                                         SAN FRANCISCO DIVISION
11
     RUBY L. ALLEN,                                            Case No. 4:21-cv-03856-KAW
12
                            Plaintiff,
13                                                      JOINT STIPULATION OF DISMISSAL
                    v.                                  WITH PREJUDICE (FED. R. CIV.
14                                                      PROC. 41(a)) AND ORDER OF
15   THE REGENTS OF THE UNIVERSITY OF                   DISMISSAL
     CALIFORNIA, PAUL LANDRY and JAYCEE
16   DE GUZMAN,
17                          Defendants.
18

19
            Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Ruby Allen and
20
     Defendant the Regents of the University of California, by and through their undersigned counsel,
21
     hereby stipulate to the voluntary dismissal with prejudice of the above-captioned action, with each
22
     party to bear its own attorneys’ fees and costs.
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     -                                                                                                     1
     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                                                                       CASE NO. 4:21-CV-03856-KAW
        Case 4:21-cv-03856-KAW Document 89 Filed 05/24/24 Page 2 of 2



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 2   Dated: May 22, 2024                               STEVEN WILLIAMS LAW P.C.
 3

 4                                                     By: __/s/ Steven N. Williams_______________
                                                            Steven N. Williams
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                                                       Attorneys for Ruby Allen
 9
     Dated: May 22, 2024                               OGLETREE, DEAKINS, NASH, SMOAK &
10                                                     STEWART, P.C.
11

12                                                     By: __/s/ Cara F. Barrick_________________
                                                          Cara F. Barrick
13
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17                                                     Attorneys for Defendant The Regents of the
                                                       University of California
18

19                                        ORDER OF DISMISSAL
20           Pursuant to the stipulation of the parties under Federal Rule of Civil Procedure 41(a)(1)(ii),
21   it is ordered that the action be, and hereby is, dismissed with prejudice as to all claims, causes of
22   actions and parties, with each party bearing that party’s own attorneys’ fees and costs. The Clerk is
23   directed to close the file.
24
            May 24, 2024
     Dated: ________________
25

26                                                  ______________________________________
                                                    HON. KANDIS A. WESTMORE
27
                                                    UNITED STATES DISTRICT JUDGE
28
     -                                                                                                        2
     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                                                                          CASE NO. 4:21-CV-03856-KAW
